        CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 1 of 17




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 DANA MITCHELL,                                    Case No. 21‐CV‐0934 (PJS/HB)

              Plaintiff,

 v.

 THE COUNTY OF RAMSEY, a                                      ORDER
 Minnesota Municipal Corporation; JOHN
 CHOI, in his individual and official
 capacity; ROBERT FLETCHER, in his
 individual and official capacity,

              Defendants.



      Nicholas G. B. May and Lucas J. Kane, FABIAN MAY & ANDERSON, PLLP, for
      plaintiff.

      Charles G. Frohman, Mary L. Knoblauch, and Brittany B. Skemp, MASLON LLP,
      for defendants.

      Plaintiff Dana Mitchell is an attorney employed by the Ramsey County

Attorney’s Office (“RCAO”). She brings this action against defendants Ramsey County

(“the County”), Ramsey County Attorney John Choi, and Ramsey County Sheriff

Robert Fletcher, alleging violations of her rights under the First Amendment, the

Minnesota Whistleblower Act, Minn. Stat. § 181.931, and the Minnesota Human Rights

Act (“MHRA”), Minn. Stat. § 363A.15.

      This matter is before the Court on defendants’ motion to (1) dismiss Mitchell’s

First Amendment claims against Choi and Fletcher in their individual capacities;
           CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 2 of 17




(2) dismiss Mitchell’s First Amendment claim against Fletcher in his official capacity;

and (3) strike or redact certain allegations from Mitchell’s complaint. For the reasons

that follow, the motion is granted in part and denied in part. Specifically, the Court

grants the motion as to the individual‐capacity claims, grants defendants’ request for

redaction, and denies the motion in all other respects.1

                                   I. BACKGROUND

       Mitchell alleges the following facts relevant to her First Amendment claims:

       Mitchell has been employed by the RCAO since 2006. Am. Compl. ¶ 9.

Mitchell’s duties include providing legal advice to the County and its departments,

representing the County in court, and playing an advisory role in investigations of

County employees. Am. Compl. ¶¶ 9, 18–19, 31, 42–43. She has also represented the

RCAO in interactions with internal and external stakeholders, professional and

community organizations, and schools. Am. Compl. ¶ 11. Mitchell’s performance

reviews have been outstanding, and she has no charges or complaints in her file. Am.

Compl. ¶¶ 10, 67.




       1
       For the reasons explained on the record at the hearing on defendants’ motions,
the Court denied defendants’ motion to strike but granted defendants’ alternative
request that Mitchell file her proposed amended complaint under seal along with a
redacted version. After Mitchell complied with this directive, the parties stipulated that
defendants’ partial motion to dismiss should be deemed to be directed at Mitchell’s
amended complaint.

                                            -2-
         CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 3 of 17




       Mitchell is a non‐political appointee. Am. Compl. ¶ 14. Under Minnesota law,

her position is designated as “classified.” See Minn. Stat. § 383A.281, subd. 9 (defining

classified‐service positions as all positions in the county personnel system “not

specifically designated as unclassified”); Minn. Stat. § 383A.286, subd. 2(o) (designating

“the county attorney, the county attorneyʹs first assistant, one principal assistant, and a

personal secretary” as the only unclassified RCAO positions). As a result, Mitchell is

protected from discharge or other adverse action except for just cause and cannot be

compelled to make political contributions as a condition of her job. Minn. Stat.

§ 383A.294, subd. 1; Minn. Stat. § 383A.297. A more generally applicable Minnesota

statute also prohibits political subdivisions from imposing or enforcing “additional

limitations on the political activities of its employees.” Minn. Stat. § 211B.09.

       Beginning in April 2015, Mitchell was primarily responsible for advising the

County and its departments on employment‐law issues. Am. Compl. ¶ 9. She is an

expert on both employment law and the Minnesota Government Data Practices Act.

Am. Compl. ¶ 9. Among the departments Mitchell advised was the Ramsey County

Sheriff’s Office (“Sheriff’s Office”). Am. Compl. ¶ 42.

       Fletcher was first elected Ramsey County Sheriff in 1994. After being defeated

for reelection in 2010, Fletcher ran again for his former office in 2018. Am. Compl.

¶¶ 43–44. Choi campaigned with Fletcher in the months leading up to the election; the



                                             -3-
         CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 4 of 17




two candidates even campaigned door‐to‐door together on multiple occasions. Am.

Compl. ¶ 44. Mitchell made a campaign donation to Fletcher’s opponent, Jack Serier,

who was the Ramsey County Sheriff at the time. Am. Compl. ¶¶ 45, 50.

       Prior to the November 2018 election, Mitchell was involved in several

investigations of misconduct by Fletcher’s supporters in the Sheriff’s Office. Am.

Compl. ¶¶ 43, 45–48. One of the investigations concerned illegal disclosure of

confidential information to Fletcher, some of which he then published on his campaign

website. Am. Compl. ¶¶ 45, 47. As a result of these investigations, several of Fletcher’s

supporters were disciplined. Am. Compl. ¶¶ 47–48.

       In January 2019, shortly after Fletcher took office, First Assistant County

Attorney John Kelly informed Mitchell that, because she had contributed to Serier’s

campaign, Fletcher did not want her to represent the Sheriff’s Office. Am. Compl. ¶ 50.

Kelly told Mitchell that “[t]his is just the way these guys are” and also that Mitchell

“knew where the bodies were buried,” which Mitchell interpreted as a reference to her

involvement in the investigations of Fletcher’s supporters in the Sheriff’s Office. Am.

Compl. ¶ 50.

       The next day, Mitchell emailed Kelly to make clear that she did not want to be

removed from her role with the Sheriff’s Office and to complain that she was being

retaliated against because of her contribution to Serier and involvement in the



                                            -4-
           CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 5 of 17




investigations of Fletcher’s supporters. Am. Compl. ¶ 51. Mitchell also complained of

this alleged retaliation to another employee in June 2020. Am. Compl. ¶ 52. The

following month, Deputy County Manager Scott Williams confirmed to Mitchell that

she had been removed from handling Sheriff’s Office matters because she was

“political,” which Mitchell interpreted as a reference to her contribution to Serier and

her involvement in the investigations. Am. Compl. ¶ 53. Previously, during the

transition between Serier’s and Fletcher’s administrations, Williams had told another

employee that Fletcher was going to fire Mitchell because she was one of “Jack’s

people.” Am. Compl. ¶ 54. In July 2020, Mitchell sent a letter to the Ramsey County

Board of Commissioners complaining of this retaliation. Am. Compl. ¶ 72. No action

was taken in response to any of Mitchell’s complaints. Am. Compl. ¶¶ 51–53, 70.2



       2
       Mitchell’s amended complaint alleges that she reported numerous other
instances of illegal conduct and experienced retaliation as a result. In her brief,
however, she makes clear that, for purposes of her First Amendment claims, the only
protected conduct at issue is her campaign donation to Serier. See ECF No. 31 at 17–18
& n.3.

       Mitchell also alleges that, in addition to being removed from her assignment
with the Sheriff’s Office, she was demoted to the Civil Commitment Unit in retaliation
for her campaign donation. Am. Compl. ¶ 84; ECF No. 31 at 20. Mitchell withdrew this
claim at oral argument, however. See Hr’g Tr. 18, 30–31. This was wise, as Mitchell has
not plausibly alleged a causal connection between her 2018 campaign contribution and
her August 2020 reassignment. See Charleston v. McCarthy, 8 F.4th 772, 780 (8th Cir.
2021) (“Without more evidence to support an inference of causation, the length of time
between Charleston’s 2016 campaign and his 2017 termination is simply insufficient to
demonstrate causation.”).

                                            -5-
         CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 6 of 17




                                         II. ANALYSIS

                                      A. Standard of Review

       In reviewing a motion to dismiss for failure to state a claim under Fed. R. Civ.

P. 12(b)(6), a court must accept as true all of the factual allegations in the complaint and

draw all reasonable inferences in the plaintiff’s favor. Perez v. Does 1–10, 931 F.3d 641,

646 (8th Cir. 2019). Although the factual allegations need not be detailed, they must be

sufficient to “raise a right to relief above the speculative level.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007). The complaint must “state a claim to relief that is

plausible on its face.” Id. at 570.

                                      B. Qualified Immunity

       Defendants argue that Mitchell’s First Amendment claims against Choi and

Fletcher in their individual capacities should be dismissed because they are entitled to

qualified immunity. The Court agrees.

       Before addressing the issue of qualified immunity, the Court must first be clear

about the nature of Mitchell’s First Amendment claims. Two distinct lines of precedent

have developed concerning the First Amendment rights of public employees. First,

Pickering v. Board of Education, 391 U.S. 563 (1968), and its progeny address the extent to

which public employees are protected from retaliation for their speech and other




                                               -6-
           CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 7 of 17




expressive activities. Second, the Elrod–Branti line of cases3 addresses the extent to

which public employees are protected from retaliation for their political beliefs or

activities. See Thompson v. Shock, 852 F.3d 786, 791 (8th Cir. 2017) (discussing the two

lines of cases).

       Mitchell analyzes her claim under both lines of precedent, but the Eighth Circuit

has made clear that when an employee suffers an adverse action because of a political

contribution, the Elrod‐Branti line of cases applies. Id. at 793 (“When the constitutional

right at issue involves joining, working for or contributing to the political party and

candidates of [the employee’s] choice, we apply the Elrod–Branti test.” (citation and

quotation marks omitted)). The Court therefore applies the Elrod–Branti line of cases in

determining whether Choi and Fletcher are entitled to qualified immunity.

       “Qualified immunity shields a government official from liability unless his

conduct violates clearly established statutory or constitutional rights of which a

reasonable person would have known.” Burns v. Eaton, 752 F.3d 1136, 1139 (8th Cir.

2014) (citation and quotation marks omitted). For a right to be “clearly established,” the

existence of the right must be “settled law“ that is “dictated by controlling authority or

a robust consensus of cases of persuasive authority.” District of Columbia v. Wesby, 138

S. Ct. 577, 589–90 (2018) (cleaned up). “It is not enough that the rule is suggested by



       3
        See Elrod v. Burns, 427 U.S. 347 (1976); Branti v. Finkel, 445 U.S. 507 (1980).

                                              -7-
         CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 8 of 17




then‐existing precedent. The precedent must be clear enough that every reasonable

official would interpret it to establish the particular rule the plaintiff seeks to apply.” Id.

at 590. It is also not enough that the right is established at a high level of generality; it

must “clearly prohibit the [official’s] conduct in the particular circumstances before

him.” Id. “The dispositive question is whether the violative nature of particular conduct

is clearly established.” Mullenix v. Luna, 577 U.S. 7, 12 (2015) (per curiam) (citation and

quotation marks omitted). Qualified immunity thus protects “all but the plainly

incompetent or those who knowingly violate the law.” Pollreis v. Marzolf, 9 F.4th 737,

743 (8th Cir. 2021) (citation and quotation marks omitted).

       Under Elrod and Branti, the First Amendment generally protects government

employees from adverse action due to political patronage—that is, adverse action on

account of the employee’s political beliefs or affiliation. Heffernan v. City of Paterson, 136

S. Ct. 1412, 1417 (2016). There is an exception, however, for “positions for which

political loyalty is necessary to an effective job performance.” Curtis v. Christian Cnty.,

963 F.3d 777, 784 (8th Cir. 2020) (citation and quotation marks omitted). Although

courts commonly speak of these unprotected positions as “confidential” or

“policymaking,” the Supreme Court has made clear that “the ultimate inquiry is not

whether the label ‘policymaker’ or ‘confidential’ fits a particular position; rather, the

question is whether the hiring authority can demonstrate that party affiliation is an



                                              -8-
         CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 9 of 17




appropriate requirement for the effective performance of the public office involved.”

Branti, 445 U.S. at 518.

       Nearly all cases that have addressed the issue have held that government

attorneys—with the exception of public defenders—“occupy positions requiring

political loyalty and are not protected from political dismissals under the First

Amendment.” Aucoin v. Haney, 306 F.3d 268, 275 (5th Cir. 2002); see also Biggs v. Best,

Best & Krieger, 189 F.3d 989, 995 (9th Cir. 1999) (“Many cases have addressed the role of

attorneys in city government, and almost all of them have found such attorneys to be

policymakers subject to patronage discharges.”); Gordon v. Cnty. of Rockland, 110 F.3d

886, 892 (2d Cir. 1997) (assistant county attorneys subject to political patronage);

Williams v. City of River Rouge, 909 F.2d 151, 155 (6th Cir. 1990) (“Although Branti left it

to courts to make the case‐by‐case decision whether a particular government employee

qualified for first amendment protection against politically‐motivated dismissal, courts

that have decided whether city and county attorneys are so protected have almost

uniformly found that they are not.”); Ness v. Marshall, 660 F.2d 517, 522 (3d Cir. 1981)

(“as a matter of law, the duties imposed on city solicitors . . . e. g., rendering legal

opinions, drafting ordinances, negotiating contracts define a position for which party

affiliation is an appropriate requirement”); Newcomb v. Brennan, 558 F.2d 825, 829–31

(7th Cir. 1977) (deputy city attorney was subject to political patronage); see also Susan



                                              -9-
        CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 10 of 17




Lorde Martin, A Decade of Branti Decisions: A Government Official’s Guide to Patronage

Dismissals, 39 Am. U. L. Rev. 11, 46–47 (1989) (“all circuit court decisions—and almost

all other court decisions—involving attorneys in government service, other than public

defenders, have held that Elrod/Branti do not protect those positions”).

       The Eighth Circuit is no exception. In Bauer v. Bosley, the Eighth Circuit held that

the position of staff attorney in a circuit court clerk’s office was “exactly the sort of

position for which political affiliation is an appropriate requirement for effective

performance.” 802 F.2d 1058, 1063 (8th Cir. 1986). In making this determination, the

Eighth Circuit relied heavily on the fact that the plaintiff was a lawyer who had an

attorney‐client relationship with an elected public official. Id. Indeed, the Eighth

Circuit almost seemed to establish a categorical rule that the First Amendment does not

protect government attorneys from being dismissed because of their political

affiliations: “An attorney should not force his services upon any client or individual in

any situation that encompasses an attorney‐client relationship or a relationship that

commands mutual confidence, fidelity, and compatibility.” Id.

       Michell argues that Bauer and similar cases are distinguishable because, unlike

the lawyers in those cases, she is protected under state law from politically motivated

retaliation. She contends that, under Shockency v. Ramsey County, 493 F.3d 941 (8th Cir.




                                             -10-
           CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 11 of 17




2007), this state‐law protection means that she does not fall within the political‐

patronage exception to the First Amendment.

       In Shockency, the plaintiffs were classified employees of the Ramsey County

Sheriff’s Office. Id. at 951. As a result, they were—just like Mitchell—insulated by state

statute from discipline based on political affiliation and protected from any requirement

that they belong or contribute to any political party. Id. Based largely on these facts, the

Eighth Circuit affirmed the denial of qualified immunity, concluding that “a reasonable

official would not have thought that Moore and Shockency held policymaking positions

and could not have reasonably relied on that exception in taking adverse employment

actions against them.” Id.

       There is no doubt that Shockency helps Mitchell, and it is possible that this Court

will eventually conclude—in the context of addressing Mitchell’s official‐capacity

claims—that, under Shockency, Mitchell does not come within the political‐patronage

exception to First Amendment protection. But there is a critical difference between

Shockency and this case: Unlike the employees in Shockency, Mitchell is an attorney. And

because Mitchell is an attorney, the Court concludes that an official in the position of

Choi or Fletcher could reasonably have concluded that she was not protected under the

First Amendment from adverse action on account of her political affiliation.4


       4
        The Eighth Circuit recently distinguished Shockency to find that deputy sheriffs
                                                                            (continued...)

                                            -11-
           CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 12 of 17




       “The relation between attorney and client is a fiduciary relation of the very

highest character, and binds the attorney to most conscientious fidelity.” Wagener v.

McDonald, 509 N.W.2d 188, 191 (Minn. Ct. App. 1993) (citation and quotations omitted).

“If the relationship is to work, the client must confide in the attorney, trusting that the

attorney will keep confidences and will ably perform. If the client loses this confidence,

whether justifiably or not, the client must be able, without penalty, to end the

relationship.” Nordling v. N. States Power Co., 478 N.W.2d 498, 501 (Minn. 1991).

       Because of the confidential and fiduciary nature of this relationship, the Rules of

Professional Conduct and their commentary provide that a client (such as Fletcher) has

the “right to discharge a lawyer at any time, with or without cause” and that a lawyer

(such as Mitchell) has a concomitant ethical duty to withdraw from representation

when discharged by a client. Minn. R. Prof. Conduct 1.16(a)(3) & cmt. 4; In re

Disciplinary Action against Samborski, 644 N.W.2d 402, 406 (Minn. 2002) (imposing



       4
        (...continued)
who may have enjoyed some measure of protection from political reprisal under
Missouri state law were nevertheless subject to political patronage. See Burns v. Cole,
Nos. 20‐2961, 20‐3284, 2021 WL 5549411, at *3–4 (8th Cir. Nov. 29, 2021). The court
noted that “[w]hether Cole violated Appellants’ state statutory political activity rights is
an inquiry separate from whether he violated their First Amendment rights” and
explained that “our consideration of state law is only for the purpose of determining the
description and nature of a government employee’s role.” Id. at *3. This analysis
suggests that, although Mitchell is protected by the same state statutory scheme as the
sheriff’s office employees in Shockency, Mitchell’s role as an attorney may nevertheless
render Shockency distinguishable.

                                            -12-
        CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 13 of 17




discipline on attorney who, among other things, “disregarded clients’ repeated attempts

to discharge him, failing to withdraw from the representations” and “even told one

client that she could not fire him”). And for the same reasons, the great weight of

authority finds that government attorneys fall within the political‐patronage exception

to the First Amendment. See Bauer, 802 F.2d at 1063.

       As noted, Mitchell contends that this authority is distinguishable because

attorneys in those cases were not protected from political retaliation by state law. That

is not entirely true, however; the Second Circuit has held that an assistant county

attorney did not enjoy protection from political retaliation under the First Amendment

even though he did enjoy such protection under state law. See Diederich v. Cnty. of

Rockland, 166 F.3d 1200, 1998 WL 887179, at *1 (2d Cir. 1998) (unpublished table

disposition) (explaining that “civil service protection is only one factor to be considered

in determining whether a public employee is protected by the First Amendment from a

political dismissal”); cf. Biggs, 189 F.3d at 996 (fact that city attorney was a nonpartisan

position did not insulate assistant from political dismissal). The existence of this

precedent—and the fact that, as the Eighth Circuit very recently affirmed, the question

of whether political retaliation violates state law “is an inquiry separate from” whether

such retaliation violates the First Amendment, Burns v. Cole, Nos. 20‐2961, 20‐3284, 2021




                                             -13-
           CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 14 of 17




WL 5549411, at *3 (8th Cir. Nov. 29, 2021)—undermine Mitchell’s argument that she had

a clearly established right to be protected from political patronage.

       It is also relevant that, in this case, Mitchell was not discharged. As far as the

record reflects, she is working in the same position for the same employer with the

same salary and benefits.5 All that has changed is that, instead of being assigned to

provide legal services to the Sheriff’s Department, she is instead assigned to provide

legal services to other departments. The Court will nevertheless assume (without

deciding) that Mitchell suffered an adverse employment action. Cf. Shockency, 493 F.3d

at 948–49 (discussing whether the plaintiffs suffered adverse employment action, a

necessary element of their First Amendment claims). But for purposes of determining

whether an official is entitled to qualified immunity, “[t]he dispositive question is

whether the violative nature of particular conduct is clearly established.” Mullenix, 577

U.S. at 12 (citation and quotation marks omitted). The parties have not cited—and the

Court has not found—a single case squarely holding that a government client (such as

Fletcher) violates the First Amendment by refusing to remain in an attorney‐client

relationship with an attorney who supported the client’s political opponent. Moreover,



       5
        Mitchell generically alleges that “[a]s a direct and proximate result of
Defendants’ conduct” in violating her First Amendment rights, she suffered “loss of
income and benefits.” Am. Compl. ¶ 85. She does not, however, specifically allege that
her removal from the Sheriff’s Office assignment was accompanied by a reduction in
pay or loss of benefits.

                                            -14-
           CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 15 of 17




both Fletcher’s request for a new attorney and Choi’s compliance with that request were

not only limited to, but seem to have been dictated by, their respective rights and duties

under Rule 1.16. For these reasons, the Court finds that an official in the position of

Fletcher or Choi could reasonably have concluded that Mitchell did not have a First

Amendment right to continue to provide legal services to Fletcher and the department

he headed.

       As noted, Mitchell relies heavily on Shockency. But Shockency did not involve a

government attorney and did not have to address how to reconcile Rule 1.16 with the

protections against political retaliation afforded by Minnesota law.6 As noted, there is

authority suggesting that a client’s right to discharge an attorney—i.e., a client’s right

not to be forced to remain in a fiduciary relationship with an attorney in whom he does

not have trust or confidence—”trumps” that attorney’s right under state law not to be

retaliated against for supporting his client’s political opponent. In light of that

authority, Fletcher and Choi could have reasonably (even if mistakenly) concluded that

removing Mitchell from her assignment with the Sheriff’s Office was a lawful way to

reconcile these competing legal principles. The Court therefore holds that Fletcher and


       6
        Mitchell points to Kidwell v. Sybaritic, 784 N.W.2d 220 (Minn. 2010), for the
proposition that Rule 1.16 does not bar in‐house lawyers from bringing retaliatory
discharge claims against their former employers. Mitchell is mistaken;
Kidwell specifically declined to resolve whether attorneys are categorically barred from
bringing such claims because it found that the plaintiff had not engaged in protected
conduct. Id. at 226, 231.

                                            -15-
        CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 16 of 17




Choi are entitled to qualified immunity on Mitchell’s First Amendment claims against

them in their individual capacities.

                        C. Official Capacity Claim Against Fletcher

       Defendants also move to dismiss Mitchell’s First Amendment claim against

Fletcher in his official capacity. Defendants argue that Fletcher’s actions cannot

plausibly be imputed to the County because he did not have the authority to remove

Mitchell from her assignment with the Sheriff’s Office. This argument is in tension with

defendants’ qualified‐immunity argument, which relies heavily on the fact that, under

Rule 1.16, Fletcher has the right “to discharge his lawyer at any time and for any

reason.” ECF No. 29 at 16. At oral argument, defendants walked back this assertion

somewhat, contending that Fletcher merely has the right to request another attorney,

and Choi has the authority to decide whether to grant such a request. Hr’g Tr. 14. The

Court believes that this issue is better addressed after the development of a full record

concerning the manner in which the RCAO handles an agency’s request for a different

attorney. Defendants’ motion to dismiss this claim is therefore denied.

                                         ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT:




                                           -16-
      CASE 0:21-cv-00934-PJS-HB Doc. 66 Filed 12/02/21 Page 17 of 17




     1.    Defendants’ motion to dismiss and strike [ECF No. 15] is GRANTED IN

           PART and DENIED IN PART.

     2.    The motion to dismiss is GRANTED with respect to plaintiff’s First

           Amendment claims against defendants John Choi and Robert Fletcher in

           their individual capacities, and those claims are DISMISSED WITH

           PREJUDICE AND ON THE MERITS.

     3.    The motion to strike is GRANTED to the extent that the Court directed

           plaintiff to file a redacted version of her amended complaint and file the

           original version under seal.

     4.    The motion is DENIED in all other respects.


Dated: December 2, 2021                      s/Patrick J. Schiltz
                                             Patrick J. Schiltz
                                             United States District Judge




                                          -17-
